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                                                                                          E-FILED IN OFFICE - EP
                                                                                        CLERK OF STATE COURT
                                                                                    GWINNETT COUNTY, GEORGIA
                                                                                             21-C-07860-S2
                                                                                          11/2/2021 4:10 PM
                                                                                        TlANA P. GARNER,CLERK

                     IN THE STATE COURT OF GWINNETT COUNTY
                                STATE OF GEORGIA

ANALLELY GARCIA DE LA ROSA,

       Plaintiff,
                                                        CIVIL ACTION
                                                        FILE NO.
V.
                                                       21-C-07860-S2
WALMART INC.;
WAL-MART STORES EAST,LP;
AND JOHN DOE 1-3

       Defendants.


                                          COMPLAINT

       COMES NOW Plaintiff, Anallely Garcia De La Rosa (hereinafter, "Plaintiff') and files

her Complaint through undersigned counsel, and respectfully shows the Court as follows:

                                                  1.

       Plaintiff is a resident of the State of Georgia.

                                                 2.

       Defendant Walmart Inc.(hereinafter,"Walmart" or "Defendant") is a foreign corporation

existing under the laws of Delaware with its principal place of business in Arkansas. Walmart is

registered to do business in the State of Georgia through the Georgia Secretary of State and may

be served through its registered agent, the Corporation Company 106 Colony Park Drive,Ste. 800

— B, Cumming, Forsyth County, Georgia 30040. Walmart is subject to the jurisdiction of this

Court. Venue is proper pursuant to 0.C.G.A. § 14-2-510(b)(3) because tortious conduct occurred

in Gwinnett County at 3795 Buford Drive, Buford, Georgia 30519 (hereinafter,"the Property").

                                                 3.
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        Defendant Wal-Mart-Stores East, LP ("hereinafter "Wal-Mart" or "Defendant"), is a

foreign corporation existing under the laws of Delaware with its principal place of business in

 Arkansas. Wal-Mart is registered to do business in the State of Georgia through the Georgia

 Secretary of State and may be served through its registered agent, the Corporation Company 106

 Colony Park Drive Ste. 800 — B, Cumming, Forsyth County, Georgia 30040. Wal-Mart is subject

 to the jurisdiction of this Court. Venue is proper pursuant to 0.C.G.A. § 14-2-510(b)(3) because

 tortious conduct occurred in Gwinnett County at 3795 Buford Drive, Buford, Georgia 30519

(hereinafter,"the Property").

                                                4.

        Defendants John Does 1-3 are believed to be residents of the State of Georgia, whose

 whereabouts are currently unknown, and are subject to the jurisdiction and venue of this Court.

 Defendant John Doe 1-3 will be named and served with Summons and Complaint once identity is

 revealed. John Does 1-3 are or may be individuals and/or entities with ownership interests in the

Property at issue, parties responsible for managing, maintaining, and/or keeping the common areas

 of the Property at issue safe for invitees, and/or parties who attempted to repair, clean, and/or

 remediate the common areas, including the location of Plaintiff's incident.

                                                5.

        Defendants are joint tortfeasors and venue is proper to all Defendants.

                                                6.

        On or about November 23, 2019, Plaintiff was an invitee at the Property.

                                                7.

        On or about November 23, 2019, Plaintiffslipped and fell in an oily substance on the floor.

                                                8.



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       Plaintiff was not aware of the oily substance on the floor and there were no signs to warn

her of the hazardous condition.

                                                  9.

       Defendant knew or should have known a hazardous condition existed in the common

areas and failed to take action to remediate the hazardous condition or to warn invitees of the

hazardous condition.

                                                  10.

       As a result of Plaintiff's fall, she suffered serious injuries.

                                                  1 1.

       Plaintiff's fall was caused solely by Defendants' negligence.

                                                  12.

       Defendants were negligent because they failed to maintain, inspect, and clean the area

where Plaintiff fell even though they had superior, actual and/or constructive knowledge of the

hazardous condition.

                               COUNT I — PREMISES LIABILITY


                                                  1 3.

       Plaintiff realleges and incorporate herein by reference paragraphs 1 through 12 above as if

they were restated verbatim.

                                                  14.

       On November 23,2019, Plaintiff was an invitee at the Property.

                                                  1 5.

       Plaintiff slipped and fell in an oily substance on the floor.

                                                  16.


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       Defendants had a duty to exercise ordinary care to keep the Property safe for invitees,

including the area where Plaintiff fell.

                                                17.

       Defendants failed to exercise that duty by failing to maintain, inspect, and/or clean the

area, which caused Plaintiff's fall.

                                                18.

       Defendants' failure and the corresponding actions described in this Complaint constitute

negligence.

                                                19.

        As a direct and proximate result of Defendants' negligence, Plaintiff suffered bodily

injuries, emotional injuries, continuing pain, lost wages, suffering and discomfort, diminished

quality of life, and medical expenses.

                                                20.

        As a direct and proximate result of Defendants' negligence, Plaintiff suffered injuries and

damages. Plaintiff is entitled to monetary damages from Defendants to compensate her for the

following elements of damage:

               a. Medical expense;

                b. Pain and suffering;

               c. Lost wages;

               d. Mental anguish; and

               e. Diminished quality of life




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                                                21.

        As a proximate result of Defendants' negligence, Plaintiff suffered special damages no less

than as follows:

 Provider                                                                     Amount
 Benchmark Physical Therapy                                                   $11,037.25
 Georgia Emergency Department Services .                                      $1,562.00
 Regional Medical Group                                                       $11,875.65
 Dr. Brett Rosenberg                                                          $800.00
 Gwinnett County Fire & Emergency SVCS                                        $1,170.00
 Gainesville Radiology Group                                                  $323.00
 Georgetown Clinics                                                           $2,073.00
 Northeast Georgia Health System                                              $7,008.00
 Hall Co. Health Department                                                   $1,428.50
 Onyx Imaging LLC                                                             $8,542.00
 Ortho Sport & Spine                                                          $9,454.05
 Orthopaedic and Spine Center of Atlanta                                      $24,699.50
 Orthopaedic and Spine Center of Atlanta (Surgical Est.)                      $24,348.00
 Total Special Damages                                                        $ 104,320.95+


                                                22.

       Defendants have been stubbornly litigious, acted in bad faith, or have caused Plaintiff to

incur unnecessary trouble and expense for which she is entitled to recover attorney's fees, costs,

and expenses, pursuant to 0.C.G.A. § 13-6-11.

       WHEREFORE,Plaintiff demands judgment against Defendants for special damages in

an amount to be proven at trial, but no less than $104,320.95, for general damages for past,

present, and future pain and suffering and loss of enjoyment of life in amounts to be determined

at trial, together with pre and postjudgment interest as allowed by law, attorney's fees, costs,

expenses pursuant to 0.C.G.A. § 13-6-11, and for such other and further relief as this Court

deems just and proper.

                            COUNT II: VICARIOUS LIABILITY



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                                              23.

       Plaintiff realleges and incorporates herein by reference paragraphs 1 through 22 above as

if they were restated verbatim.

                                              24.

       At all times relevant to this action, John Does and/or employed individuals of Walmart

and/or Wal-Mart (collectively referred to as "Agents"), were responsible for inspecting and

maintaining the area where Plaintiff fell.

                                              25.

       Defendant(s) Walmart and/or Wal-Mart is/are responsible for the conduct of the Agents

under the doctrines of respondeat superior, agency or apparent agency.

                                              26.

       The Agents had a duty to exercise ordinary care to keep the Property safe for invitees,

including the area where Plaintiff fell.

                                              27.

       The Agents failed to exercise that duty by failing to maintain, inspect, and/or clean the

area, which caused Plaintiffs fall.

                                              28.

       As a -direct and proximate result of the Agents' negligence, Plaintiff suffered bodily

injuries, emotional injuries, continuing pain, lost wages, suffering and discomfort, diminished

quality of life, and medical expenses.




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                                                 29.

         As a direct and proximate result of the Agents' negligence, Plaintiff suffered injuries and

 damages. Plaintiff is entitled to monetary damages from Defendants, to compensate her for the

 following elements of damage:

                a.      Medical expense;

                a.     Pain and suffering;

                b.     Lost wages;

                c.     Mental anguish; and

                d.     Diminished quality of life.

                                                 30.

        As a proximate result of the Agents' negligence, Plaintiff suffered special damages no less

'than as follows:

  Provider                                                                     Amount
  Benchmark Physical Therapy                                                   $11,037.25
  Georgia Emergency Department Services                                        $1,562.00
  Regional Medical Group                                                       $11,875.65
  Dr. Brett Rosenberg                                                          $800.00
  Gwinnett County Fire & Emergency SVCS                                        $1,170.00
  Gainesville Radiology Group                                                  $323.00
  Georgetown Clinics                                                           $2,073.00
  Northeast Georgia Health System                                              $7,008.00
  Hall Co. Health Department                                                   $1,428.50
  Onyx Imaging LLC                                                             $8,542.00
  Ortho Sport & Spine.                                                         $9,454.05
  Orthopaedic and Spine Center of Atlanta                                      $24,699.50
  Orthopaedic and Spine Center of Atlanta (Surgical Est.)                      $24,348.00
  Total Special Damages                                                        $ 104,320.95+




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                                                 31.

          Defendants have been stubbornly litigious, acted in bad faith, or have caused Plaintiff to

incur unnecessary trouble and expense for which she is entitled to recover attorney's fees,. costs,

and expenses, pursuant to 0.C.G.A. § 13-6-11.

          WHEREFORE,Plaintiff demands judgment against Defendants for special damages in an

amount to be proven at trial, but no less than $104,320.95+,for general damages, for past, present,

and future pain and suffering and loss of enjoyment of life in amounts to be determined at trial,

together with pre and post judgment interest as allowed by law, attorney's fees, costs, expenses

pursuant to 0.C.G.A. § 13-6-11, and for such other and further relief as this Court deems just and

proper.

                   COUNT III: NEGLIGENT TRAINING & SUPERVISION

                                                 32.

       Plaintiff realleges and incorporate herein by reference paragraphs 1 through 31 above as if

they were restated verbatim.

                                                 33.

          Walmart and/or Wal-Mart is/are required to adopt policies and procedures to ensure sure

that appropriate inspections, cleaning and maintenance were performed on the premises.

                                                 34.

          Walmart and/or Wal-Mart is/are required to train its Agents concerning safety procedures

for inspecting, repairing and maintaining the premises.

                                                 35.




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       Walmart and/or Wal-Mart is/are negligent for failing to adopt policies and procedures to

make sure that appropriate inspections, cleaning and maintenance were performed on the premises.

                                               36.

       Walmart and/or Wal-Mart is/are negligent for failing to train its Agents concerning safety

procedures for inspecting and maintaining the premises.

                                               37.

       Walmart and/or Wal-Mart was negligent in the training and supervising of its Agents.

                                               38.

       As a result ofthe negligence of Walmart and/or Wal-Mart, Plaintiff was injured.

                                               39.

       As a result of the negligence of Walmart and/or Wal-Mart in training and supervising its

Agents, Plaintiff was injured.

                                               40.

       As a direct and proximate result of Walmares and/or Wal-Mart's negligent hiring and

supervision, Plaintiff is entitled to monetary damages from Walmart and/or Wal-Mart to

compensate him for the following elements of damage:

               a.      Medical expense;

               b.      Pain and suffering;

               c.      Lost wages;

               d.      Mental anguish; and

               e.      Diminished quality of life.




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                                               41.

          As a proximate result of Walmart's and/or Wal-Mart's negligence, Plaintiff suffered

special damages no less than as follows:

Provider                    S                                                Amount
Benchmark Physical Therapy                                                   $11,037.25
Georgia Emergency Department Services                                        $1,562.00
Regional Medical Group                                                       $11,875.65
Dr. Brett Rosenberg                                                          $800.00
Gwinnett County Fire & Emergency SVCS                                        $1,170.00
Gainesville Radiology Group                                                  $323.00
Georgetown Clinics                                                           $2,073.00
Northeast Georgia Health System                                              $7,008.00
Hall Co. Health Department                                                   $1,428.50
Onyx Imaging LLC                                                             $8,542.00
Ortho Sport & Spine                                                          $9,454.05
Orthopaedic and Spine Center of Atlanta                                      $24,699.50
Orthopaedic and Spine Center of Atlanta (Surgical Est.)                      $24,348.00
Total Special Damages                                                        $ 104,320.95+


                                               42.

       Defendants have been stubbornly litigious, acted in bad faith, or caused Plaintiff to incur

unnecessary trouble and expense for which he is entitled to recover attorney's fees, costs, and

expenses, pursuant to 0.C.G.A. § 13-6-11.

          WHEREFORE,Plaintiff demands judgment against Defendants for special damages in an

amount to be proven at trial, but no less than $104,320.95+,for general damages,for past, present,

and future pain and suffering and loss of enjoyment of life in amounts to be determined at trial,

together with pre and post judgment interest as allowed by law, attorney's fees, costs, expenses

pursuant to 0.C.G.A. § 13-6-11, and for such other and further relief as this Court deemsjust and

proper.

                                   PRAYER FOR RELIEF

          WHEREFORE,Plaintiff respectfully prays and demands as follows:

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1.     That Process and Summons issue, as provided by law, requiring defendants to appear and.

       answer Plaintiff's Complaint;

2.     That service be had upon defendants as provided by law;

3.     That the Court award and enter ajudgment in favor of Plaintiff and against Defendants for

       compensatory damages in an amount to be proven at trial;

4.     That Plaintiff has a trial by a jury as to all issues; and,

5.     That Plaintiff has suth other and further relief as the Court may deem just and proper.


       Respectfully submitted this 2nd day of November 2021.

                                                       /s/ Allen M.Hoffman Jr.
                                                       Allen M. Hoffman Jr.
                                                       Georgia Bar No.964123
                                                       /s/ Eric L. Jensen
                                                       Eric L. Jensen
                                                       Georgia Bar No.391259
                                                       Attorneysfor Plaintiff

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